      Case 3:22-cv-01211-JAH-JLB Document 1 Filed 08/18/22 PageID.1 Page 1 of 5



1    John J. Keenan SBN 242487
2    Warren Law Group
     445 S. Figueroa St.
3
     Los Angeles, CA 90071
4    866-954-7687 | 866-335-6823
     johnkeenan@warren.law
5

6                        UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF CALIFORNIA
7

8
     ISA PLUS, LLC, A DELAWARE                 Case No.:    '22CV1211 JAH JLB
9    LIMITED LIABILITY COMPANY,
10               Plaintiff,                    California Superior Court Case No.:
11                                             37-2022-00026192-CU-BC-CTL
     v.
12

13   PREHIRED, LLC, A DELAWARE                 NOTICE OF REMOVAL
     LIMITED LIABILITY COMPANY,
14
     JOSHUA K. JORDAN,
15   INDIVIDUALLY, AND DOES 1
16
     THROUGH 2, INCLUSIVE,

17               Defendants.
18
                                 NOTICE OF REMOVAL
19

20
     TO: THE HONORABLE JUDGES OF THE UNITED STATES DISTRICT
         COURT FOR THE SOUTHERN DISTRICT OF CALIFORNIA
21

22         Pursuant to U.S.C. §§1441 and 1446(a) Defendants Prehired, LLC and Joshua
23
     K. Jordan, by and through their undersigned counsel, John J. Keenan, Esq., hereby
24
     give notice of the removal of the above captioned matter from the Superior Court of
25

26   the State of California, County of San Diego, Central Division where the action is
27

28
     NOTICE OF REMOVAL - 1
      Case 3:22-cv-01211-JAH-JLB Document 1 Filed 08/18/22 PageID.2 Page 2 of 5



1    now pending, to the United States District Court of the Southern District of
2
     California, and respectfully state as follows:
3

4       1. This action was commenced on July 1, 2022 by Plaintiff ISA Plus, LLC
5
           against Prehired, LLC and Joshua K Jordan, in the Superior Court of the State
6

7
           of California, County of San Diego, Case Number 37-2022-00026192-CU-

8          BC-CTL. Annexed hereto as Exhibit A is a copy of the Summons and
9
           Complaint (the “Complaint”). Upon information and belief, Plaintiff
10

11         attempted service on the Defendants on or about July 20, 2022.
12
        2. This Notice of Removal is being filed within thirty days of service upon the
13

14
           Defendants. Accordingly, removal is timely pursuant to 28 U.S.C. §§ 1441

15         and 1446(b)(1).
16
                                          THE PARTIES
17

18      3. Upon information and belief, the Plaintiff ISA Plus, LLC is a single member
19
           LLC formed in Delaware.
20

21
        4. The sole member of ISA Plus LLC resides in California.

22      5. Joshua Jordan is a resident of the State of South Carolina.
23
        6. Prehired, LLC is a single member LLC.
24

25      7. The sole member of Prehired, LLC is Joshua K. Jordan, who is a resident of
26
           the State of South Carolina.
27

28
     NOTICE OF REMOVAL - 2
      Case 3:22-cv-01211-JAH-JLB Document 1 Filed 08/18/22 PageID.3 Page 3 of 5



1                               THE STATE COURT ACTION
2
        8. The Complaint asserts five causes of action for (1) Intentional
3

4          Misrepresentation; (2) Negligent Misrepresentation; (3) Concealment; (4)
5
           Breach of Contract; and (5) Breach of Implied Covenant of Good Faith and
6

7
           Fair Dealing.

8       9. The Complaint seeks damages in the amount of $2,500,000, along with
9
           consequential damages.
10

11      10.Plaintiff has not demanded a jury trial.
12
                       THE COURT’S REMOVAL JURISDICTION
13

14
        11.28 U.S.C. §1441(a) provides the basis for removal of the action to this Court,

15         as this is a state court action over which this Court has original jurisdiction
16
           under 28 U.S.C. §1332(a) diversity of citizenship.
17

18      12.Upon information and belief ISA Plus, LLC is a single member LLC whose
19
           sole member is a resident of the State of California.
20

21
        13.Joshua K. Jordan is a resident of the State of South Carolina.

22      14.Prehired, LLC is a single member LLC whose sole member, Joshua Jordan is
23
           a resident of the State of South Carolina.
24

25      15.Accordingly, for purposes of diversity jurisdiction, ISA Plus, LLC is a
26
           resident of the State of California and Prehired, LLC is a resident of the State
27

28
           of South Carolina.
     NOTICE OF REMOVAL - 3
      Case 3:22-cv-01211-JAH-JLB Document 1 Filed 08/18/22 PageID.4 Page 4 of 5



1       16.A limited liability company is a citizen, for purposes of diversity jurisdiction,
2
           of each state where its members are citizens. Bayerische Landesbank, New
3

4          York Branch v. Aladdin Capital Management, LLC, 692 F.3d 42, 49 (2nd
5
           Circuit 2012).
6

7
        17. The amount in controversy exceeds the jurisdictional threshold of an amount

8          greater than $75,000 exclusive of interest and costs. Exhibit A.
9
        18.Therefore, this Court has original jurisdiction over this action under 28 U.S.C.
10

11         §1332(a) as this is a civil action between citizens of different states and the
12
           amount in controversy is greater than $75,000 exclusive of interest and costs.
13

14
        19.The timing requirements of 28 U.S.C. §1446(b) have been satisfied in that this

15         Notice of Removal has been filed within thirty days of the service of the
16
           Summons and Complaint.
17

18      20.The United States District Court for the Southern District of California is the
19
           appropriate court to which this action should be removed because this district
20

21
           is the district embracing actions filed in the Superior Court of the State of

22         California, County of San Diego.
23
        21.A true and correct copy of this Notice of Removal is being served upon
24

25         Plaintiff and will be filed promptly with the Clerk of the Superior Court of the
26
           State of California, County of San Diego, as required by 28 U.S.C. §1446(d).
27

28
     NOTICE OF REMOVAL - 4
      Case 3:22-cv-01211-JAH-JLB Document 1 Filed 08/18/22 PageID.5 Page 5 of 5



1          WHEREFORE, Defendants Prehired LLC and Joshua K. Jordan respectfully
2
     request that the captioned action, now pending in the Superior Court of the State of
3

4    California, County of San Diego, be removed to this Court.
5

6

7
     Dated this 18th day of August, 2022.
     At Los Angeles, California
8

9                                                 /s/ John J. Keenan
                                                  John J. Keenan, Esq.
10
                                                  Warren Law Group
11                                                445 S. Figueroa St.
                                                  Los Angeles, CA 90071
12
                                                  866-954-7687 | 866-335-6823
13                                                johnkeenan@warren.law
14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
     NOTICE OF REMOVAL - 5
